         Case 1:15-cv-05871-KPF Document 65 Filed 04/21/17 Page 1 of 12
                                                                 USDC SDNY
                                                                 DOCUMENT
                                                                 ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                     DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK                                                 April 21, 2017
                                                                 DATE FILED: ______________
 ------------------------------------------------------X
                                                       :
 KELLY PRICE,                                          :
                                                       :
                                      Plaintiff,       :    15 Civ. 5871 (KPF)
                                                       :
                       v.                              :   OPINION AND ORDER
                                                       :
 THE CITY OF NEW YORK, INSPECTOR                       :
 OLUFUNMILO F. OBE, SELVENA                            :
 BROOKS, P.O. JOHN DOE, and                            :
 P.O. JANE DOE,                                        :
                                                       :
                                      Defendants. :
                                                       :
 ----------------------------------------------------- X
KATHERINE POLK FAILLA, District Judge:

       This Opinion and Order resolves Plaintiff Kelly Price’s motions to

reconsider and to amend her complaint. Plaintiff filed this action pro se on

July 24, 2015. On December 2, 2016, the Court granted Plaintiff leave to file a

fourth amended complaint (“FAC”) for the limited purpose of naming Inspector

Olufunmilo F. Obe and Selvena Brooks (together with the City of New York, the

“City Defendants”) as defendants who allegedly blocked Plaintiff from viewing or

posting replies to two Twitter accounts administered by the City of New York,

namely, the account for the New York City Police Department’s (“NYPD”) 28th

Precinct, @NYPD28PCT, and the account for the Mayor’s Office to Combat

Domestic Violence, @NYCAgainstAbuse. (Dkt. #30 at 13-14). On January 3,

2017, Plaintiff filed a FAC that was not compliant with the Court’s December 2

order. (Dkt. #41). Among other deficiencies, the FAC failed to name Obe and

Brooks as defendants, reasserted claims that the Court had previously
       Case 1:15-cv-05871-KPF Document 65 Filed 04/21/17 Page 2 of 12




dismissed, and contained additional facts in support of other claims. (Id.).

Because Plaintiff failed to comply with the Court’s December 2 Order, on

January 11, 2017, the Court struck the FAC, deemed the third amended

complaint (“TAC”) to be the operative pleading, and added Obe and Brooks as

defendants under Rule 21 of the Federal Rules of Civil Procedure. (Dkt. #45).

      By letter dated January 26, 2017, the City Defendants requested a pre-

motion conference concerning their anticipated motion to dismiss certain

claims in the TAC. (Dkt. #46). That same day, Plaintiff submitted a motion for

reconsideration of the January 3 Order that struck the FAC (Dkt. #47), and on

February 28, 2017, the City Defendants filed an opposition to Plaintiff’s motion

(Dkt. #55). The Court thereafter held a conference on March 15, 2017, at

which the parties discussed both the anticipated motion to dismiss and the

motion for reconsideration.

      Having considered carefully the parties’ submissions and the arguments

made at the March 15 conference, and mindful of its obligation to construe a

pro se plaintiff’s submissions liberally, see Tracy v. Freshwater, 623 F.3d 90,

101 (2d Cir. 2010), the Court construed Plaintiff’s motion for reconsideration as

a hybrid motion for reconsideration and motion to amend the TAC. (Dkt. #58).

In an Order issued on April 4, 2017 (the “April 4 Order”), the Court directed the

City Defendants to submit letter briefs addressing the issue of whether Plaintiff

should be granted leave to file an amended pleading that limited Plaintiff to the

claims discussed in that Order. (Id.).




                                         2
       Case 1:15-cv-05871-KPF Document 65 Filed 04/21/17 Page 3 of 12




      On April 14, 2017, the City Defendants filed their letter opposing

Plaintiff’s motion to amend. (Dkt. #61). Also in response to the Court’s

directive, former Defendants District Attorney of New York County Cyrus

Vance, the New York County District Attorney’s Office (“DANY”), and various

employees of that Office (together, the “Former DANY Defendants”) filed a letter

opposing Plaintiff’s motion on April 18, 2017. (Dkt. #64). For the reasons

outlined below, Plaintiff’s motion for reconsideration is granted in part and

denied in part. Plaintiff’s motion for leave to amend the TAC is granted in part

and denied in part.

                                   DISCUSSION

A.    Plaintiff’s Motion for Reconsideration Is Granted in Part and
      Denied in Part

      1.     Applicable Law

      The Court liberally construes Plaintiff’s submission as a motion under

Fed. R. Civ. P. 59(e) to alter or amend judgment and a motion under Local Civil

Rule 6.3 for reconsideration, and, in the alternative, as a motion under Fed. R.

Civ. P. 60(b) for relief from a judgment or order. See Triestman v. Fed. Bureau

of Prisons, 470 F.3d 471, 474 (2d Cir. 2006); see also Tracy, 623 F.3d at 101

(observing that the solicitude afforded to pro se litigants takes a variety of

forms, including liberal construction of papers, “relaxation of the limitations on

the amendment of pleadings,” leniency in the enforcement of other procedural

rules, and “deliberate, continuing efforts to ensure that a pro se litigant

understands what is required of [her]” (citations omitted)).




                                          3
       Case 1:15-cv-05871-KPF Document 65 Filed 04/21/17 Page 4 of 12




      The standards governing Fed. R. Civ. P. 59(e) and Local Civil Rule 6.3 are

the same. R.F.M.A.S., Inc. v. Mimi So, 640 F. Supp. 2d 506, 509 (S.D.N.Y.

2009). The movant must demonstrate that the Court overlooked “controlling

law or factual matters” that had been previously put before it. Id. (discussion

in the context of both Local Civil Rule 6.3 and Fed. R. Civ. P. 59(e)); see Padilla

v. Maersk Line, Ltd., 636 F. Supp. 2d 256, 258-59 (S.D.N.Y. 2009). “Such

motions must be narrowly construed and strictly applied in order to discourage

litigants from making repetitive arguments on issues that have been

thoroughly considered by the court.” Range Road Music, Inc. v. Music Sales

Corp., 90 F. Supp. 2d 390, 391-92 (S.D.N.Y. 2000); see also SimplexGrinnell LP

v. Integrated Sys. & Power, Inc., 642 F. Supp. 2d 206, 210 (S.D.N.Y. 2009) (“A

motion for reconsideration is not an invitation to parties to ‘treat the court’s

initial decision as the opening of a dialogue in which that party may then use

such a motion to advance new theories or adduce new evidence in response to

the court’s ruling.’” (internal citations omitted)). Reconsideration will generally

be denied unless the moving party can point to controlling decisions or data

that the court overlooked — matters, in other words, that might reasonably be

expected to alter the conclusion reached by the court.” See Shrader v. CSX

Transp., Inc., 70 F.3d 255, 257 (2d Cir. 1995); id. (“[A] motion to reconsider

should not be granted where the moving party seeks solely to relitigate an issue

already decided.”).




                                          4
       Case 1:15-cv-05871-KPF Document 65 Filed 04/21/17 Page 5 of 12




      2.    Analysis

      With regard to the majority of Plaintiff’s claims in the stricken FAC, the

Court finds that Plaintiff seeks only to relitigate issues already decided by this

Court and Judge Preska. As indicated in the April 4 Order, therefore, the

Court will only reconsider its decision to dismiss the TAC insofar as it applies

to Plaintiff’s (i) § 1983 claim under the First Amendment, against the City, Obe,

and Brooks, related to their alleged blocking of Plaintiff from viewing two City-

run Twitter accounts; (ii) § 1983 claim under the Fourth Amendment, against

the City, John Doe, and Jane Doe, related to their alleged false arrest;

(iii) § 1983 malicious prosecution claim under the Fourth Amendment, against

the City and Det. Simmons, related to the prosecution that allegedly terminated

in Plaintiff’s favor on September 9, 2016; (iv) § 1983 substantive due process

claims under the Fourteenth Amendment, related to Plaintiff’s allegations of

denial of services at the Family Justice Center and the Midtown North Precinct

in 2015, along with her new allegations concerning District Attorney Vance,

Raheem Powell, and the 137th Street Crew; (v) § 1983 claims under the First

Amendment, against the City and Pierre-Louis, related to Pierre-Louis’s alleged

blocking of Plaintiff from viewing and posting replies to the @RPLNYC Twitter

feed, as supplemented by statements made by Plaintiff at the March 15

conference; and (vi) claims related to incidents that allegedly occurred on

November 17, 2016, and January 24, 2017, as described in Plaintiff’s motion

for reconsideration and at the March 15 conference. (Dkt. #58). Plaintiff’s

motion to reconsider these claims is granted because Plaintiff has provided the


                                         5
        Case 1:15-cv-05871-KPF Document 65 Filed 04/21/17 Page 6 of 12




Court with new evidence and arguments previously unavailable or overlooked.

Plaintiff’s motion to reconsider is denied as it applies to the rest of Plaintiff’s

FAC claims.

B.    Plaintiff’s Motion for Leave to Amend Is Granted in Part and
      Denied in Part

      1.      Applicable Law

      Reconsideration, however, is not the same thing as leave to amend,

which implicates a different analysis. Federal Rule of Civil Procedure 15(a)

permits a party to “amend its pleading only with the opposing party’s written

consent or the court’s leave.” Fed. R. Civ. P. 15(a)(2). Courts are to “freely give

leave when justice so requires.” Id.; see also, e.g., McCarthy v. Dun &

Bradstreet Corp., 482 F.3d 184, 200 (2d Cir. 2007); Otegbade v. N.Y.C. Admin.

for Children Servs., No. 12 Civ. 6298 (KPF), 2015 WL 851631, at *2 (S.D.N.Y.

Feb. 27, 2015). “This permissive standard is consistent with [the Second

Circuit’s] ‘strong preference for resolving disputes on the merits.’” Williams v.

Citigroup Inc., 659 F.3d 208, 212-13 (2d Cir. 2011) (per curiam) (quoting New

York v. Green, 420 F.3d 99, 104 (2d Cir. 2005)).

      However, leave to amend may be denied if the amendment would be

futile. See, e.g., Knife Rights, Inc. v. Vance, 802 F.3d 377, 389 (2d Cir. 2015).

Amendment is futile if the “amended portion of the complaint would fail to

state a cause of action.” Parker v. Columbia Pictures Indus., 204 F.3d 326, 339

(2d Cir. 2000); see also Kassner v. 2nd Ave. Delicatessen Inc., 496 F.3d 229,

244 (2d Cir. 2007) (holding that amended complaint must be “sufficient to

withstand a motion to dismiss under [Federal Rule of Civil Procedure]

                                           6
       Case 1:15-cv-05871-KPF Document 65 Filed 04/21/17 Page 7 of 12




12(b)(6)”). Leave to amend may also be denied “when a party has been given

ample prior opportunity to allege a claim,” De Jesus v. Sears, Roebuck & Co.,

Inc., 87 F.3d 65, 72 (2d Cir. 1996), or “where the motion is made after an

inordinate delay, no satisfactory explanation is offered for the delay, and the

amendment would prejudice the defendant,” Cerni v. J.P. Morgan Sec. LLC,

No. 15 Civ. 5389 (AJN), 2016 WL 5805300, at *7 (S.D.N.Y. Sept. 20, 2016)

(internal quotation mark omitted) (quoting Kenney v. Clay, 172 F. Supp. 3d

628, 643 (N.D.N.Y. 2016)).

      2.    Analysis

            a.     Plaintiff’s Motion to Amend to Reassert Claims as to
                   Which Reconsideration Was Not Granted Is Denied

      Because the Court will only reconsider its dismissal of the FAC with

regard to the aforementioned categories of claims, Plaintiff’s motion to amend

her Complaint to include claims outside those categories is denied. Even if the

Court reconsidered its denial of these claims, many of the claims are time-

barred such that any amendment to include them would be futile. (See Dkt

#17, 58). Moreover, Plaintiff has failed to provide a satisfactory explanation for

her failure to comply with the instructions she was given upon each of the

several prior opportunities the Court afforded her to amend her pleading. (See

Dkt. #58). Plaintiff had ample opportunity to amend her pleading properly, and

failed to do so. Plaintiff’s motion to amend to reassert these claims is denied.




                                         7
       Case 1:15-cv-05871-KPF Document 65 Filed 04/21/17 Page 8 of 12




            b.     Plaintiff’s Motion to Amend to Bring Claims Against
                   Individual City Defendants Relating to the November 17,
                   2016, and January 24, 2017 Incidents Is Granted

      The City Defendants have not opposed, and so consent to, an

amendment of Plaintiff’s complaint that would “add claims against individual

defendants regarding the November 17, 2016, and January 24, 2017

incidents.” (Dkt. #61). Plaintiff’s motion to amend to add these claims is

granted.

            c.     Plaintiff’s Motion to Amend to Bring Claims as to Which
                   Reconsideration Was Granted Against the City
                   Defendants Is Granted

      Defendants have opposed, however, Plaintiff’s motion to amend her

(i) § 1983 claim under the First Amendment, against the City, Obe, and Brooks,

related to their alleged blocking of Plaintiff from viewing two City-run Twitter

accounts; (ii) § 1983 claim under the Fourth Amendment, against the City,

John Doe, and Jane Doe, related to their alleged false arrest; (iii) § 1983

malicious prosecution claim under the Fourth Amendment, against the City

and Det. Simmons, related to the prosecution that allegedly terminated in

Plaintiff’s favor on September 9, 2016; (iv) § 1983 claims under the First

Amendment, against the City and Pierre-Louis, related to Pierre-Louis’s alleged

blocking of Plaintiff from viewing and posting replies to the @RPLNYC Twitter

feed, as supplemented by statements made by Plaintiff at the March 15

conference; and (v) Monell claim to include claims against the City regarding

the November 17, 2016, and January 24, 2017 incidents. (Dkt. #61). The crux

of the City Defendants’ argument is futility; they allege that Plaintiff’s proposed


                                         8
       Case 1:15-cv-05871-KPF Document 65 Filed 04/21/17 Page 9 of 12




amendments would be futile because the claims Plaintiff contemplates

asserting in her amended pleading would be subject to dismissal. (Id.). 1

      The Court does not agree. On the current record, the Court cannot

determine as a matter of law that Plaintiff’s amended claims against the City

Defendants would fail. These Defendants argue that Plaintiff will not be able to

plead certain elements of her contemplated 42 U.S.C. § 1983 and Monell claims

sufficiently to satisfy Federal Rules of Civil Procedure 8 and 12(b)(6). But they

assume as much based on Plaintiff’s failure to allege certain elements of her

claims in her motion for leave to amend and her oral presentation to the Court.

Again mindful of its obligations to “freely give leave when justice so requires,”

Fed. R. Civ. P. 15(a)(2), and to construe a pro se plaintiff’s submissions

liberally, see Tracy, 623 F.3d at 101, the Court cannot determine at this stage

that Plaintiff cannot plead sufficiently the claims that she has not yet had the

opportunity to present fully to the Court. Absent any claim that an

amendment would prejudice the City Defendants, the Court will grant Plaintiff

this opportunity. Plaintiff may amend her complaint to raise the five claims

enumerated at the start of this section. In this amended pleading, Plaintiff




1     Because the City Defendants do not allege that they would be prejudiced by an
      amendment (see Dkt. #61), the Court will not consider that argument. The Court will
      likewise not consider the City Defendants’ arguments invoking Federal Rule of Civil
      Procedure 16. (Id.). The Court has not yet entered a scheduling order contemplated by
      Rule 16, and does not therefore believe Rule 16 is relevant.

                                             9
       Case 1:15-cv-05871-KPF Document 65 Filed 04/21/17 Page 10 of 12




would do well to address the deficiencies alleged by her adversaries in their

letter opposing her motion to amend.

             d.    Plaintiff’s Motion to Amend to Bring the Claims, as to
                   Which Reconsideration Was Granted, Against the Former
                   DANY Defendants Is Denied

      The Former DANY Defendants have opposed Plaintiff’s motion to amend

her § 1983 substantive due process claims under the Fourteenth Amendment,

related to Plaintiff’s allegations of denial of services at the Family Justice

Center and the Midtown North Precinct in 2015, along with her new allegations

concerning District Attorney Vance, Raheem Powell, and the 137th Street

Crew. Like the City Defendants, the Former DANY Defendants allege that

Plaintiff’s proposed amendment would be futile. They also allege that an

amendment would prejudice them.

      The Court agrees. The Former DANY Defendants have provided the

Court with evidence of the futility they allege. Namely, they have submitted a

signed and sworn affidavit of the Bureau Chief who oversaw the investigation

and prosecution of the 137th Street Crew, which affidavit indicates that

“Raheem Powell was not a cooperating witness for DANY, nor did he testify in

any proceedings related to the prosecution of the 137th Street Crew.” (Dkt.

#64, Ex. A). Because the alleged cooperation of Raheem Powell is the

cornerstone of Plaintiff’s allegations against the Former DANY Defendants,

Plaintiff’s claims unravel in its absence. Moreover, the Court credits the

Former DANY Defendants’ prejudice argument. The Former DANY Defendants

“were dismissed from this suit some time ago because [P]laintiff failed to state a


                                          10
       Case 1:15-cv-05871-KPF Document 65 Filed 04/21/17 Page 11 of 12




claim against them.” (Dkt. #64). But Plaintiff has continued to reallege claims

against the Former DANY Defendants despite those claims’ repeated dismissal.

The Court agrees that “[t]he perpetual nature of plaintiff’s allegations, and

having to respond to them, is patently unfair” to the Former DANY Defendants.

(Id.). Plaintiff’s motion to amend to reassert claims against the Former DANY

Defendants is denied.

                                  CONCLUSION

      For the foregoing reasons, Plaintiff’s motion for reconsideration is

GRANTED IN PART and DENIED IN PART. Plaintiff’s motion for leave to amend

her Complaint is GRANTED IN PART and DENIED IN PART. If Plaintiff still

wishes to file an amended pleading, she must do so on or before May 26,

2017. Plaintiff’s amended complaint must adhere to the guidelines of this and

the Court’s prior orders. Specifically, Plaintiff is not to reassert claims the

dismissal of which this Opinion and Order does not disturb. Plaintiff’s

adversaries have advised Plaintiff, in their April 14 opposition, January 26 pre-

motion letter, and at the March 15 conference, of various deficiencies that they

have identified in Plaintiff’s pleading. Plaintiff should address these issues in

her amended pleading.

      The Court understands that the City Defendants intend to file a motion

to dismiss. Their response, be it answer or motion to dismiss, must be filed on

or before June 26, 2017. If the response is a motion to dismiss, the City

Defendants should include copies of any case cited in their papers, be it

reported or unreported, in their mailing to Plaintiff. And if it is a motion to



                                          11
         Case 1:15-cv-05871-KPF Document 65 Filed 04/21/17 Page 12 of 12




dismiss, Plaintiff’s opposition will be due on or before August 11, 2017. The

City Defendants’ reply papers will be due on or before August 31, 2017; here,

again, the City Defendants should include copies of any case cited in their

papers. The Court has built in extra time into this schedule to account for

delays in mailing and potential vacations. Accordingly, absent compelling

circumstances, the Court will not extend these dates.

      The Clerk of Court is directed to terminate the motions pending at

Docket Entries 46 and 47. The Court certifies under 28 U.S.C. § 1915(a)(3)

that any appeal from this Order would not be taken in good faith, and therefore

in forma pauperis status is denied for the purpose of an appeal. See Coppedge

v. United States, 369 U.S. 438, 444-45 (1962).

      SO ORDERED.

Dated:        April 21, 2017
              New York, New York                  __________________________________
                                                       KATHERINE POLK FAILLA
                                                      United States District Judge



  A copy of this Order was mailed by Chambers to:

   Kelly Price
   534 W. 187th Street
   Apt. # 7
   New York, NY 10033




                                             12
